Case 3:19-cv-07270-WHA Document 395-4 Filed 02/11/22 Page 1 of 3




           Exhibit 3
Case 3:19-cv-07270-WHA Document 395-4 Filed 02/11/22 Page 2 of 3
      Case 3:19-cv-07270-WHA Document 395-4 Filed 02/11/22 Page 3 of 3

                                     CRICKET00345845


                                            Metadata
Begin Family        &5,&.(7                                        SEMANTIC
Custodian           6FKQLHEHUB/DUD                                         SEMANTIC
Date Modified       SP                                     SEMANTIC
Date Received       DP                                    SEMANTIC
Date Sent           DP                                    SEMANTIC
End Family          &5,&.(7                                        SEMANTIC
Extension           06*                                                    SEMANTIC
Family Date         DP                                      VIRTUAL
Filename            (%$)%&&%&(PVJ   SEMANTIC
From                1(:612:P#DWWFRP!                              SEMANTIC
MD5 Hash            ()&$$(%'%%&)                       SEMANTIC
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                                                                             E_ALIAS
Production Volume   &5,&.(7B92/                                         SEMANTIC
Subject             $7 7ZHOFRPHV&ULFNHW                                  SEMANTIC
